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 101-7-NFR
 /2009
 /2010
 2ems Inc.
                                                        UNITED STATES BANKRUPTCY COURT
                                                          MIDDLE DISTRICT OF FLORIDA

                  In Re:                                             §
                                                                     §
                  ROBERTS, MARCUS L.                                 §       Case No. 3:16-bk-03761-3F7
                                                                     §
                                      Debtor                         §

                                                    NOTICE OF TRUSTEE’S FINAL REPORT AND
                                                      APPLICATIONS FOR COMPENSATION
                                                        AND DEADLINE TO OBJECT (NFR)

                           Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that GORDON P.
                  JONES, TRUSTEE, trustee of the above styled estate, has filed a Final Report and the trustee and the
                  trustee’s professionals have filed final fee applications, which are summarized in the attached Summary
                  of Trustee's Final Report and Applications for Compensation.

                          The complete Final Report and all applications for compensation are available for inspection at
                  the Office of the Clerk, at the following address:
                                                          CLERK, U.S. BANKRUPTCY COURT
                                                          300 N. HOGAN STREET, ROOM 3-150
                                                          JACKSONVILLE FL 32202

                          Any person wishing to object to any fee application that has not already been approved or
                  to the Final Report, must file a written objection within 21 days from the mailing of this notice,
                  plus an additional three days for service if any party was served by U. S. Mail together with a
                  request for a hearing and serve a copy of both upon the trustee, any party whose application is
                  being challenged and the United States Trustee. If no objections are filed, the Court will act on
                  the fee applications and the trustee may pay dividends pursuant to FRBP 3009 without further
                  order of the Court.

                  Date Mailed: 10/08/2018                                By: /s/ Gordon P. Jones
                                                                                               Trustee


                  GORDON P. JONES, TRUSTEE
                  Post Office Box 600459
                  Jacksonville, FL 32260-0459




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                                              UNITED STATES BANKRUPTCY COURT
                                                 MIDDLE DISTRICT OF FLORIDA


      In Re:                                                                §
                                                                            §
      ROBERTS, MARCUS L.                                                    §         Case No. 3:16-bk-03761-3F7
                                                                            §
                             Debtor                                         §

                                             SUMMARY OF TRUSTEE'S FINAL REPORT
                                             AND APPLICATIONS FOR COMPENSATION


                   The Final Report shows receipts of                                                                 $                       4,780.00
                   and approved disbursements of                                                                      $                         227.62
                                                            1
                   leaving a balance on hand of                                                                       $                       4,552.38


                 Claims of secured creditors will be paid as follows:


                                                                                 NONE


                 Applications for chapter 7 fees and administrative expenses have been filed as follows:

                                                                                                     Interim Payment             Proposed
                            Reason/Applicant                             Total Requested             to Date                     Payment
       Trustee Fees: GORDON P. JONES,
       TRUSTEE                                                          $             1,195.00 $                          0.00 $              1,195.00
       Trustee Expenses: GORDON P. JONES,
       TRUSTEE                                                          $               216.70 $                          0.00 $                216.70
       Attorney for Trustee Fees: EUGENE H
       JOHNSON                                                          $             1,222.50 $                          0.00 $              1,222.50
       Attorney for Trustee Expenses: EUGENE H
       JOHNSON                                 $                                        106.11 $                          0.00 $                106.11
                   Total to be paid for chapter 7 administrative expenses                                             $                       2,740.31
                   Remaining Balance                                                                                  $                       1,812.07




____________________
           1
              The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement
will be distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the
maximum compensation set forth under 11 U.S.C. §326(a) on account of the disbursement of the additional interest.

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               Applications for prior chapter fees and administrative expenses have been filed as follows:


                                                            NONE


              In addition to the expenses of administration listed above as may be allowed by the Court,
     priority claims totaling $ 0.00 must be paid in advance of any dividend to general (unsecured) creditors.

                 Allowed priority claims are:


                                                            NONE


             The actual distribution to wage claimants included above, if any, will be the proposed payment
     less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

             Timely claims of general (unsecured) creditors totaling $ 10,964.14 have been allowed and will
     be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
     timely allowed general (unsecured) dividend is anticipated to be 16.5 percent, plus interest (if
     applicable).

                 Timely allowed general (unsecured) claims are as follows:

                                                  Allowed Amount         Interim Payment to
     Claim No.          Claimant                  of Claim               Date               Proposed Payment
                        Navy Federal Credit
     000001             Union                   $           3,042.81 $                0.00 $             502.89
     000003             Synchrony Bank          $           7,921.33 $                0.00 $           1,309.18
                Total to be paid to timely general unsecured creditors                $                1,812.07
                Remaining Balance                                                     $                      0.00


             Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been allowed and will
     be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
     have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus interest (if
     applicable).

                 Tardily filed general (unsecured) claims are as follows:


                                                            NONE




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            Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
     subordinated by the Court totaling $ 0.00 have been allowed and will be paid pro rata only after all
     allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
     subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).

            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
     subordinated by the Court are as follows:


                                                          NONE


                                            Prepared By: /s/ Gordon P. Jones
                                                                                   Trustee


     GORDON P. JONES, TRUSTEE
     Post Office Box 600459
     Jacksonville, FL 32260-0459


     STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
     Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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